
PER CURIAM.
Having accepted jurisdiction pursuant to Florida Rule of Appellate Procedure 9.160, this court reverses the suppression order that was presented in this appeal for review, and remands the case to the trial court. See State v. Rochelle, 609 So.2d 613 (Fla. 4th DCA 1992).
GLICKSTEIN, C.J., and ANSTEAD and HERSEY, JJ., concur.
ON MOTION FOR CERTIFICATION
We grant the motion and certify as questions of great public importance those certified in State v. Nevadomski, 619 So.2d 310 (Fla. 4th DCA 1993).
GLICKSTEIN, C.J., and ANSTEAD, J., concur.
HERSEY, J., dissents without opinion.
